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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION


UNITED STATES OF AMERICA                             §

v.                                                   §          CRIMINAL NO. 6:08cr11

FRANCISCO JAVIER FIGUEROA (03)                       §

                             REPORT AND RECOMMENDATION OF
                             UNITED STATES MAGISTRATE JUDGE

         This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C. § 636(b)(3).

This case has been referred by the Honorable Michael Schneider to the undersigned Magistrate Judge

for the taking of a felony guilty plea. The parties have consented to appear before a Magistrate Judge.

         The defendant and counsel appeared before the undersigned United States Magistrate Judge who

addressed the defendant personally in open Court and informed the defendant of, and determined that

the defendant understood, the admonishments under Rule 11 of the Federal Rules of Criminal

Procedure.

         Pursuant to a plea bargain agreement with the Government, Defendant plead guilty to Count One

of the Indictment.

         The undersigned Magistrate Judge finds the following:

1)       The defendant, with the advice of his attorney, has consented orally and in writing to enter this

guilty plea before a Magistrate Judge subject to final approval and sentencing by the presiding District

Judge;

2)       The defendant fully understands the nature of the charges and penalties;

3)       The defendant fully understands the terms of the plea agreement;

4)       The defendant understands his constitutional and statutory rights and wishes to waive these

rights, including the right to a trial by jury and the right to appear before a United States District Judge;
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5)     The defendant’s plea is made freely and voluntarily;

6)     The defendant is competent to enter this plea of guilty;

7)     There is a factual basis for this plea; and

8)     The ends of justice will be served by acceptance of the defendant’s plea of guilty.

                                           Recommendation

       Accordingly, it is hereby RECOMMENDED that the District Judge accept the plea of guilty and

enter final judgment of guilty against the defendant, conditional upon a review of the presentence report.

       A party’s failure to file objections to the findings, conclusions, and recommendations contained

in this Report within ten days after service with a copy thereof shall bar that party from de novo review

by the district judge of those findings, conclusions and recommendations and, except upon grounds of

plain error, from appellate review of the unobjected-to proposed factual findings and legal conclusions

accepted and .adopted by the district court. Douglass v. United Services Automobile Association, 79

F.3d 1415, 1430 (5th Cir. 1996) (en banc).




             So ORDERED and SIGNED this 3rd day of April, 2008.




                                             ___________________________________
                                                        JOHN D. LOVE
                                             UNITED STATES MAGISTRATE JUDGE




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